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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROSCOE SAME LLC, BIG & LITTLE’S                     )
LAKEVIEW LLC and BIG & LITTLE’S                     )
EMPIRE LLC, individually and on behalf of all       )
                                                    ) Case No.: 20-cv-2641
others similarly situated,                          )
                                                    )
               Plaintiffs,                          )
       v.                                           ) CLASS ACTION COMPLAINT
                                                    )
                                                    )
SOCIETY INSURANCE,                                  )
                                                    ) Jury Trial Demanded
               Defendant.                           )
                                                    )
                                                    )
                                                    )

       Plaintiffs Roscoe Same LLC, Big & Little’s Lakeview LLC and Big & Little’s Empire

LLC (collectively, “Plaintiffs”), individually and on behalf of all others similarly situated, by and

through their attorneys, upon personal knowledge as to the facts pertaining to themselves and on

information and belief as to all other matters, bring this action against Society Insurance, and

respectfully state the following:

                                    NATURE OF THE CASE

       1.      Big & Little’s Lakeview LLC and Big & Little’s Empire LLC operate restaurants

in Chicago’s Lakeview and River North neighborhoods, respectively, serving fast food with a

gourmet twist. Roscoe Same LLC operates a restaurant called Same Same in Chicago’s Roscoe

Village neighborhood serving Thai food. In order to protect themselves, Plaintiffs obtained

business interruption insurance from Society Insurance. The policies they obtained, an example of

which is attached in relevant part as Exhibit A, explicitly cover business interruption losses when

the government forces them to close.
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        2.      Under orders recently issued by the State of Illinois in response to the COVID-19

pandemic, Plaintiffs were forced to stop normal operation of their restaurants, resulting in tens of

thousands of dollars of harm, which is ongoing.

        3.      Plaintiffs contacted their independent insurance agent and were informed there

would be no coverage. This is not surprising in light of the fact that that Society Insurance has

denied all or most all similar claims. Society’s CEO has even issued a memorandum to independent

insurance agencies they work with advising that there would not be any coverage.

        4.      This class action seeks redress for Society Insurance’s refusal to honor and pay

claims for covered losses related to COVID-19 made pursuant to the businessowners insurance

policy it sold to Plaintiffs and others.

                                  JURISDICTION AND VENUE

        5.      The Court has jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1332(d)(2),

because: (a) there are 100 or more Class members, (b) at least one Class member is a citizen of a

state that is diverse from Defendant’s citizenship, and (c) the amount in controversy exceeds

$5,000,000, exclusive of interest and costs.

        6.      The Court has personal jurisdiction over Defendant pursuant to 735 ILCS 5/2-209

because Society Insurance submitted to Illinois jurisdiction by selling insurance policies to

Plaintiffs and others within the State of Illinois.

        7.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events and omissions giving rise to the claims emanated from activities within this

District.




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                                           PARTIES

       8.      Plaintiff Roscoe Same LLC is an Illinois limited liability company that operates a

restaurant named Same Same in Chicago’s Roscoe Village neighborhood serving Thai food. The

members of Roscoe Same LLC are Illinois citizens Kristopher Henry, Gary Strauss, and Anthony

D’Alessandro. Roscoe Same LLC has policy number BP19047249-0 with Society Insurance with

a policy period of December 11, 2019 through December 11, 2020.

       9.      Plaintiff Big & Little’s Lakeview LLC is an Illinois limited liability company that

operates a gourmet fast food restaurant in Chicago, Illinois. The members of Big & Little’s

Lakeview LLC are Illinois citizens Gary Strauss and Anthony D’Alessandro. Big & Little’s

Lakeview LLC has policy number BP19048710-0 with Society Insurance with a policy period of

2/19/2020 to 2/19/2021.

       10.     Plaintiff Big & Little’s Empire LLC is an Illinois limited liability company that

operates a gourmet fast food restaurant in Chicago, Illinois. The members of Big & Little’s Empire

LLC are Illinois citizens Gary Strauss and Anthony D’Alessandro. Big & Little’s Empire LLC has

policy number BP17029249-2 with Society Insurance with a policy period of 10/14/2019 to

10/14/2020.

       11.     Society Insurance is an insurance carrier that provides commercial insurance to

business customers in Illinois, Indiana, Iowa, and Wisconsin. Defendant Society Insurance is an

insurance company incorporated in the State of Wisconsin with its principal place of business in

Fond du Lac, Wisconsin.




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                                              FACTS

The Policy

       12.     Society Insurance sold Plaintiffs and members of the Class insurance policies (the

“Policy”) covering losses resulting from the necessary suspension of business operations at an

insured location caused by a government order unless the cause of the loss is expressly excluded

by the Policy. Plaintiffs and members of the Class paid substantial premiums in exchange for the

coverages of the Policy. The Policy covers the loss of business income due to the necessary

suspension.

       13.     Specifically, the Policy provides that Society Insurance “will pay for the actual loss

of Business Income you sustain due to the necessary suspension of your ‘operations’ during the

‘period of restoration.’ Ex. A at 5. Suspension is defined to mean “the partial slowdown or

complete cessation of your business activities.” Id. at 6.

       14.     The Policy also provides “extra expense” coverage Plaintiffs incur during the

period of interruption (including costs to avoid or minimize the suspension of business and to

continue operation). Id.

       15.     The Policy does not exclude losses from pandemics.

       16.     The Policy also provides civil authority coverage, providing business income and

extra expense coverage for losses caused by the action of a civil authority that prohibits access to

the insured’s business in response to “dangerous physical conditions.” Specifically, when the

damage is to property other than the described premises, the civil authority provision provides that

Society Insurance “will pay for the actual loss of Business Income you sustain and necessary Extra

Expense caused by action of civil authority that prohibits access to the described premises.” Id. at

7.

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The COVID-19 Crisis

       17.     COVID-19 is an infectious disease first identified in December 2019 with the

potential to cause serious illness or death. COVID-19 has already resulted in over 1,000 deaths in

the State of Illinois and over 50,000 in the United States. On March 11, 2020, the WHO declared

COVID-19 to be a pandemic.

       18.     In response to COVID-19 pandemic, Illinois Governor J.B. Pritzker issued an

executive order on March 15, 2020, requiring that all businesses in Illinois that offer food or

beverages for on-premises consumption (including Plaintiffs) suspend such service from the period

of March 16, 2020 until March 30, 2020.

       19.     Four days later on March 20, 2020, Governor Pritzker issued an order closing all

inessential businesses and requiring Illinois residents to stay at home during the period of March

21, 2020 through April 7, 2020. This order allowed restaurants to continue to prepare and serve

food, but only for consumption off-premises.

       20.     On April 1, 2020, governor Pritzker extended the March 20 Order through April

30, 2020. On April 23, 2020, Governor Pritzker announced the stay-at-home order would be

extended until May 30, 2020.

       21.     Similar orders were entered in the other states in which Society Insurance does

business. In Wisconsin, Governor Tony Evers issued a series of orders first restricting and later

eliminating the dine-in capacity of Wisconsin restaurants during the period of March 17, 2020

through May 26, 2020. Indiana Governor Eric J. Holcomb issued a stay series of orders closing

restaurants for dine-in patrons during the period of March 17, 2020 through May 1, 2020. Iowa

Governor Kim Reynolds ordered similar restrictions in the State of Iowa during the period from

March 17 through April 30, 2020.

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The Harm to Plaintiffs

       22.        Big & Little’s Lakeview LLC, Big & Little’s Empire LLC and Roscoe Same LLC

have each experienced sharp drops in business income as a result of the Illinois stay-at-home order

which forced them to stop serving dine-in customers. Like many other restaurants, they have each

lost tens of thousands of dollars of revenue. They have also been forced to pay additional expenses

to delivery app companies in order to minimize their losses during the shutdown order.

       23.        Plaintiffs contacted the independent insurance agent who sold them the Policy (as

Society Insurance instructs is a proper way to file a claim) and were informed there would be no

coverage.

       24.        In fact, Society Insurance expressly instructed independent insurance agents of its

position in a memorandum issued by Society Insurance CEO Rick Parks.1 Society Insurance has

also been summarily denying similar claims made by other Illinois businesses for interruption to

their business.

                           CLASS DEFINITION AND ALLEGATIONS

       25.        Plaintiffs bring all claims as class claims under Federal Rule of Civil Procedure

23(b)(1), (b)(2), and (b)(3).

       26.        Plaintiffs bring all claims on behalf of a proposed class defined as follows (the

“Class”):

       All persons and entities that had business income, civil authority, or extra expense
       coverage under an insurance policy issued by Society Insurance, suffered a
       suspension of business related to COVID-19, and were not compensated for their
       losses by Society Insurance.



1
 https://www.insurancejournal.com/news/midwest/2020/04/03/563177.htm (last visited April
27, 2020).

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        Excluded from the Class are: 1) Society Insurance and its officers, directors, employees,

principals, affiliated entities, controlling entities, and agents; 2) any judge assigned to this case.

        27.     Numerosity. While the exact number of Class members is unknown, the exact

number can be determined from Society Insurance’s business records, and on information and

belief, includes hundreds or thousands of businesses in Illinois, Wisconsin, Iowa, and Indiana.

Plaintiff therefore believes that the Class is so numerous that joinder of all members is impractical.

        28.     Typicality. Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs, like

all proposed members of the Class, were not compensated for the business interruption losses they

sustained as a result of the COVID-19 crisis under their Society Insurance policies. Plaintiffs and

Class members were injured by the same wrongful acts, practices, and omissions committed by

Defendant, as described herein. Plaintiffs’ claims therefore arise from the same practices or course

of conduct that give rise to the claims of all Class members.

        29.     Commonality and Predominance. Common questions of law and fact exist as to

all Class members and predominate over any individual questions. Such common questions

include, but are not limited to:

        (a)     Whether the Class suffered a covered loss under the Policies;

        (b)     Whether the Policy’s civil authority coverage applies to the losses incurred by

                Plaintiffs and the Class;

        (c)     Whether the Policy’s extra expense coverage applies to the losses incurred by

                Plaintiffs and the Class;

        (d)     Whether Society Insurance wrongfully denied business interruption claims

                resulting from COVID-19;




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          (c)   Whether Plaintiffs and the Class are entitled to statutory damages, actual damages,

and other equitable relief.

          30.   Adequacy. Plaintiffs will fairly and adequately protect the interests of the Class.

Plaintiffs are adequate representatives of the Class in that they have no interests adverse to or that

conflict with the Class they seek to represent. Plaintiffs have retained counsel with substantial

experience and success in the prosecution of complex class actions of this nature.

          31.   Superiority. A class action is superior to any other available method for the fair

and efficient adjudication of this controversy since individual joinder of all Class members is

impractical. Furthermore, the expenses and burden of individual litigation would make it difficult

or impossible for the individual members of the Class to redress the wrongs done to them,

especially given that the damages or injuries suffered by each individual member of the Class may

be relatively small. Even if the Class members could afford individualized litigation, the cost to

the court system would be substantial and individual actions would also present the potential for

inconsistent or contradictory judgments. By contrast, a class action presents fewer management

difficulties and provides the benefits of single adjudication and comprehensive supervision by a

single court.

                              COUNT I – DECLARATORY RELIEF

          32.   Plaintiffs incorporate the preceding paragraphs by reference, as if fully set forth

herein.

          33.   Society Insurance has wrongfully and without justification refused to reimburse

Plaintiffs for losses stemming from the disruption to their business caused by COVID-19 and

government closure orders.




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          34.   An actual case or controversy exists as to whether Society Insurance is required to

reimburse Plaintiffs for these covered losses and has stated its position that it is not required to

reimburse these losses.

          35.   Pursuant to 28 U.S.C. § 2201, Plaintiffs seek a declaration that:

                a) Plaintiff’s losses involving the interruption to their business caused by
                   COVID-19 and government closure orders are covered losses pursuant
                   to the Policy.

                b) Society Insurance is obligated to pay Plaintiffs for the full amount of the
                   losses incurred and continuing to be incurred as a result of COVID-19
                   and government closure orders.


                            COUNT II – BREACH OF CONTRACT

          36.   Plaintiffs incorporate the preceding paragraphs by reference, as if fully set forth

herein.

          37.   The Policy is a contract between each Plaintiff and Society Insurance.

          38.   Under the Policy, each Plaintiff agreed to (and did) pay substantial premiums to

Society Insurance in exchange for a policy of insurance covering a variety of potential losses,

including business losses incurred as a result of a government closure order. Plaintiffs each

performed all of their obligations under the contracts.

          39.   Society Insurance has repudiated its obligations pursuant to the policy by stating its

intention not to pay such claims, advising independent insurance agents they work with to advise

their clients that such claims will not be paid, and by denying those claims that are made.

          40.   As a result of Society Insurance’s breach and repudiation of the Policy, Plaintiffs

have been damaged in an amount to be established at trial.




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                     COUNT III: BAD FAITH DENIAL OF INSURANCE
                      (under Illinois, Iowa, Wisconsin, and Indiana law)

          41.   Plaintiffs incorporate the preceding paragraphs by reference, as if fully set forth

herein.

          42.   Society Insurance’s conduct in refusing to honor claims for business interruptions

related to the COVID-19 crisis and resulting shutdown orders has been vexatious and

unreasonable.

          43.   Society Insurance has directed its independent insurance agents to inform

policyholders that there would be no coverage pursuant to the policies in order to deter filing

claims.

          44.   Policyholders that do succeed in filing claims receive only bare, summary denials

without sufficient explanation of the basis for the denial.

          45.   Society Insurance has refused to pay claims without reasonably investigating them.

          46.   In addition to the amounts owed under the policies, Plaintiffs request that the Court

award attorneys’ fees, costs, and expenses, and punitive damages to the maximum extent allowed

by applicable law.

                                         JURY DEMAND

          47.   Plaintiffs hereby demand a trial by jury.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully request that the Court enter judgment in favor of Plaintiffs and the Class and against

Defendant as follows:




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      a. Certifying the Class, appointing Plaintiffs as Class representatives, and appointing

          undersigned counsel as Class Counsel;

      b. Entering judgment in favor of Plaintiffs and against Society Insurance;

      c. Entering declaratory judgment in favor of Plaintiffs and members of the Class, as

          requested herein;

      d. Ordering Society Insurance to pay statutory, actual, and (as applicable) punitive

          damages for its failure to honor the Policies;

      e. Ordering Society Insurance to pay pre- and post-judgment interest;

      f. Ordering Society insurance to pay attorneys’ fees and costs;

      g. Ordering such other relief as may be deemed just and proper.



Dated: April 30, 2020

                                                    Respectfully submitted,

                                                    /s/ Ben Barnow__________________
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